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                            Unrrrp Srrrrrs Drpnn'runNr oF Jrrsrrc'r
                             FrneRlt- Bunr.lt or l\vEsl tcAl'IoN




                                              FBI Charlotte
                                           7915 Microsoft Way
                                           Charlotte. NC 2t1273

File Number:

Requesting Official(s) and Oftice(s)   :


'l'ask
         Number(s) and Date Completed:

Name and Oflice of Linguist(s):

Name and Offrce of Reviewer(s):

Source Language(s):                              Russran

'l arget Language:                               English

Source File Information
  Name of Audio File or CD:                      Snorvman _T'eyf02 I 620 I 8.003



                                  SI"JMMARY I'RANSL,.,\ I ION

Participants:
          CHS                                    Snor.r'man
          UM                                     UM
          UMI                                    UN,I   I




Abbreviations:
      TN                                         Translator's Notes
       UI                                        Unintelligible




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                                                                                    A000005-T   1
                                           UNCLASSIFIHD



[TN: It is likely that UM is Leonid Teyf as Snou'man rcf'ers to [JM later in thc convcrsation a;
"Leonid" plus patronymic.

UM   I may be the voice of a dispatcher.   The words are spoken in Russian.]




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                                       UNCLASSIhIEI.)
f ile Name: Snowman_TeyCI2 I 620 I 8.003

[No conversation in the first 20 minutes of the audiol.

At 20:45, UMI voice says: "4l5." Snowman engagcs in a conversation with llM. Ll\'l relates to
Snowman someone else's words [UIJ. Snowman tells UM that he does nol understand why a
prer.v woman with money would want to be with "this loser," especially considering the fact that
"he" is on drugs, UM says that he and someone else llikely insinuating a f-emale I are llf ing to
Europc tomorrow and are coming back on F-ebruarr 25th, turd that hc rvould har s iucLcd "him"
up a long time ago IUI]. UM says that he wants to nail "him." Snowman urgcs I tNl to rake it
easy and tells him that UM is being very emotional. Snou,man encourages ['M to rvait and that
they will frame "this guy." UM tells Snowman that "he" has a police record." and that thc reason
"he" is still here is because "he" is married to an Arnerican. 'l-hey discuss that "he" docs pot and
is also addicted to pills. UM tells Snowman to deai rrith "her," and that he is clean. I tM says that
he just wants to know if "they" had sex. Snowman asks if anyone else knows. I IM replies. "No."
UM mentions two Alekseys: one that knows and the one that probably gucsscs about rvhat's
happening. Snowman says that he is meeting with people tomorrow and that he r.rill par attention
to what they will talk about.

UM suggests they end this conversation. and movc orl to talking about therr trucking b,rsiness
'Ihey arrange a meeting tbr a following day and discuss future plans when Snorvman le'lls i'!l
that he   will   be back on the 56.




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                                     tlsrmo Surrs Dr:plnrMrNT oF Jt:srrcr
                                        Frorn-,rl Bt'neat or Irvrsrtc.ATtoli




                                                   FBI Salt t-ake City
                                             5425 West Amelia Earhart Dr
                                               Salt Lake City. UT 841l6

File Number:

Requesting      Ollcial(   s   ) and Offi ce(s):



Task Number(s) and Date Completed

Name and Ollice of Linguist(s):

Name and Office of Reviewer(s):


Source Language(s):                                    Russian

Target Languagc                                        English

Source File Information
  Name of Audio f ile or CD:                           Snowman_Teyf02 I 620 I 8.003.wav
             -Date. Duration:                          0?t1612018. 00:46:   l8


                                           VERBATIM TRANSLATION
Participants:
         Snowman                                        Confi dential Human Source

         LT                                             Unknown Male




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                                        UNCLASSIFIED


Abbreviations:
        tl                                      'Iranslator Exegeses
        TN                                      Translator's Notes
        UI                                      Unintelligible
        OV                                      Overlapping Voices
        Italics                                 Spoken in English
        PFI                                     Phonetic Spelling



[TN: t.esha. Leshka - diminutive for Aleksey]
[TN: Dasha is the diminutive for Daria/Darya]
[TN: Nastya is the diminutive for Anastasia]
[TN: Per the request of Special Agents. not all sounds and noises are included   in the translation]




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 File Name: Snowman_Teyf02 I 620 I 8.003


Snowman:      [Exhale]. [Noisesl Wat this date? So. [Noise]. Oh. man. Oh. February 16.

              fNo conversation for a period of time]

              [00:26:46100: l9:33J

Snowman:      Five.forry-five. [Ul].

              [No conversalion for a period of time]

              [00:25:34100:20:45]

LT:           Four hundred   fifteen-
Snowman:      Yes. boss. Okay. On my way.

              IVehicle door being opened and closedl

Snouman:      IChuckles] [UI]. I understand. one second. One second. wait. one second. Pound
              sign and what?

LT            Irrl
Snowman:      So pound sign. I -9-7-7'l

LT:           tlh-huh.

              [Dial tone]

LT:           I apologize.

Snowman:      Everything is fine, boss. I understand you don't give a dam, as they say . . .

LT:           I can't quite understand. was there something. or fucking wasn't?

Snowman:      Darn, first of, don't get offended I'm going to tell you. all right? I am telling you,
              leave me hereto work [UI]. Necessary to leave [iVme/them/]rim4rerl.

L'I':         She's been fucking dr-drinking too much. this Nastya. damn and [UI].

Snowman:      I knew it.

LT:          She is wired for sound all the time. necessary to   tull. "l   shit. I don't want with
             you [UI].



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                                              LINCLASSIFIED
File Name: Snowman__Teyf02        I   620 I 8.003

              [Noise]

LT:          I don't understand at all what you are writing.

Snowman: I{m.
LT:          What is this?       []   can?

Snowman:     Yes.

LT:          ln what way?

Snowman:     Well. somehow here. to work on this issue. . . of the cops.

t.'t':       Sit where? There?

Snowman:     No. well . .    .




[-T:         Here? Let's step aside [UI].

Snowman: [OV] 'fo falsily the documents? 'fo arrest him and [Lil].
[-'l':       In which one?

Snowman:     In ItJI]. He [Ul]his onn [UIJ. It isthere      ner [UI].

Ll':         [OV] ldon'tknow if you can..              .




Snowman: I can        [LaughsJ

L'l':        [UI]. At firsthe         was saying    that-
Snowman:     It will be necessary to wait.

[-T:                q76n'1
                             [UI] disgrace. shit and so on and so forth
                                                                [UI] lrustling  noise]  [UI]
             -[
             Becausehe left [.JI] my apartment [UI]. The person [UI] I tell him [UI] [rustling
             noisel tUIl in general to continue, shit [UI]

Snowman:     I can't urap my head around it at all.

I _',t'      Me neither.

Snowman:     Honestly.

LT:          Me. too.



                                                       2
                                              TINCLASSIFIED
                                                                                       A000005-T7
                                     LTNCLASSIFIED
File Name: Snowman_Teyf02 l 620 I 8.003
Snowman:     Well, let me explain to you my train of thought. The woman is pretty.             righf   has
             money. why the fuck does she need this loser?

LT:          I don't even know.

Snowman:     Then like you said.   he-
LT:          Well a druggie IUI].

Snowman:              So u'hat the fuck?
            -)'es.
LT:          I don't know. I don't know'. Right          nou'- honestl,"-   [rustling noise][LII] We are
             flying to lJurope tomorrow.

Snowman:     Uh-huh.

LT:         And r,r'ill bc back on the   2-5th.


Snowman:    Okay. Iet's meet on the 25th.

LT:         I. I would have killed him     a    long time ago. it's just IUIl came up. [UI.l such.

Snowman:    We'll take care of everlthing, don't worry.

LT:         I don't know. I doubt it. You'll just put )'ourselves on the line.

Snowman:    We won't put ourselves on the           line. Everything will work out fine.

LT:         [OVl [coughing] I wanted       to     just [t.1I] him-

Snowmm:     [OV] I . , . [ChucklesJ [.,11]. It's not nr'cessar]'. It's not necessar]'

LT:         --so he would tell the truth.

Snowman:    None of      it is necessary. Don't. Not necessary. You are an emotional person and
            a   little bit of time is needed.

LT:         I am a man of strong emotions.

Snorman:    Yes. It's not necessary'. why? we'll set him up. takc him dowr. grab
                                                                                 [him].
            dump [him/irl. Simply time is needed.

LT:         No. I thought. I thought differently. 'fhat. shit. uh lead someone on. pay him
                                                                                            to
            become friends rvith him. And then. shit. get him fucking blabbing.
                                                                                   and thcn the
            fucking overdose and he is done.



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                                       UNCLASSIFIED
File Name: Snowman_Teyf02 I 620 I 8.003

Snowman:     What's he on, do you know?

LT:          Who the fuck   knows-

Snowman:     Weed   or-
LT:          [OV] On pills. on weed. There is a report. There is a police report shit. he has
             court at least [UI] . . .

Snowman: [OV] Yes. How is he able to remain here then, ifhe has [UI]?
LT:          He married that American.

Snowman:     Ah...lsee.
LT:          That has two children.

Snowman:     Uh-huh.

LT:          From different husbads.

Snowman:     So. the bottom line is that he is smoking weed. lives on    [UIl fiom   these uh. from
             uh-
LT:          Iov]Pills.
Snowman:     Um

LT:          Whotte fuck knows.

Snowmm:      I understand. Those that are for pain that are sold at the pharmacy. One pill costs
             $25. He is selling them here.

LT:          Maybe, yes.

Snowman: And if you tmixl fUIl pill with wine,       the person just gets lost. Just gets   lost. We
             had a friend like that worked   [UI].
LT:          You, you.   you-
Snowman:                     was at Sasha.s.
             -shumacher [pH]
LT:               understand' don't pester me. Shit, I am completely
             -l
             it out with her. What kind does she have,
                                                                      clean. shit. Shit, you sort
                                                         shit? What ala rn. want. shit [UI]?

Snowman:     Look. generaily speaking. there are no craims against him.


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                                             LNCLASSIFIED
File Name: Snowman Tevf02l 6201 8.003


LT:          That's true.

Snowman      That's between us.

LT:          Of course.

Snowman:     Just to find out did it happen and that's it.

LT:          Uh-huh.

Snorvman:    Otherwise. there aren't any claims against him.

LT:          I-l-l just   need to know was there sex or not.

Snowman:     But to be honest. I don't believe [itJ.

[,T:         Me neither.

Snowman:     Shit. I can't believe this. [chucklesl And one more question. Does evervbod-v-
             knou'already or no one knows.

LT:          [OV] ll.Jll No one      knor.r's.   [UI].

Snowman:     Does Lesha know?

I-T:         Well. Leshka is surmising [Ul].

Snowman: No. this one. Polyakor'.

LT:          This one knows everything. yes.

Snou'man: [tJI]. Oh. man. . .
LT:          rurl
Snouman:     Well what. he'llgo drinking and they he'll sra( blabbing. shit.

LT:          He can't be blabbing against himself.

Snowman:     Fine, all    right. TomoTow l am meeting here with . . . uh . . . the gang is
             gathering. valik and the others. I'll listen maybe they will ,uy ,ornething.
LT          Doubttul [UI].

Snowman:    [OV] Well.       I'll listen. t,ook. I don't drink.

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File Name: Snowman_Teyf02 I 620 I 8.003


LT:         Ok. fine. listen.

Snowman:    I alwayscomeand. . . [whistles] Ears . . . [chuckles] . . . areperked up. Ok,
            let's close our topic. Look-

LT          [OV] Yes, yes.let's close it. What-what-

Snowman:    Look, the topic is this.

LT:         Thegist-gist...

Snowman     Twenty-five. that means. it includes the tnrck. ingurance--

LT          [OV] Let's. let's do it differently. Twcrrty-five will come from me. Uh, what,
            what kind of direction do we wotto go?

Snowman:    The direction is such . .     .




LT:         Weopenacompany...

Snowman:    We open a co[mpan1'l it's already open. It is already opened. John opened it.
            TrA [PH].

LT:         tovl tul.
LT:         John. I went to him. We went to open a company. We went to the bank. He tells
            me, "There is ao neod to open anything. I already have [it]."

LT:         Uh-huh.

Snowman:    Ok. I. I already     gave the title. the title tbr the truck. he has [ir].

LT:                      'rT'A
            tovJ [ur]            [r,n].

Snowman:    We u'ent to the uh      r*'ell-
LT:         lOVl Ok. we get the truck. what's next?

Snowman     There is a truck alreadl'. Done.

LT:         Need to buy ir.

Snowman     I actually wanted already'on Monday to take it to North caro[lina]
                                                                               to chicago.
LT:         The truck?



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File Name: Snowman_Teyf02 I 620 I 8.003


Snowman:     Yes. And also then we would need to buy either a small box tuck or a Sprinter.

LT           I   see.

Snowman:     I'll explain why. I hire a driver right nou,. F-or example    for 25 percent 30 percent
             per.per load.

LT:          Uh-huh.

Snowman:     For the tw'o. two vehicles.

LT:          Uh-huh.

Snowman      There isn't al'*'a1's u'ork tbr the Dox trucks. but I still need to pa)' the wages.

LT:          tJh-hm.

Snowman      There is work for. for ttre Sprinters. What do we have? Marius is falling behind.
             Everything that's been accumulating . . . So, three weeks. Saturday-Sunday.
             Saturday'-Sunday. three weeks, I am there as the one in charge. Marius doesn't
             show up at all.

LT           Uh-hm.

Snowman     And whe,n I walk around those . . .I even have the keys for that big w*arehouse,
            for three ofthem. actwlly. I go in md I see - whoa!- some small loads are laying
            around. . .

LT          Laying eound . . . not leaving

Snowman:    Yes. I call Charlie right away. and Charlie tells me. "Do you want them? Take
            &cm." But the price Charlie is giving me right now is shit [chuckles].

LT:         Small.

Snowman     Well by small . . . a normal price. but small.

LT          Compared to the other ones.     it's small.

Snowman:    compared to the markel, it's small. others get even less from him. And I am
            like, I need for them to get used to the idea that TTA-TTA was always under the
            back side. Always

LT          Backing them up.



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File Name: Snowman-_'teyf02    I   620 I 8.003

Snowman:                them up. That we . . . Look. here is what I was thinking. What is it
             -backing
             now? February. March will pass. and in April we will slowly begin repaying the
             insurance back to you. and that. you know. paying back little by little. To me the
             important thing is for the driver to be provided for. So that u'e-

LT:          [OV] Uh-hm, do you want to have one driver for the box-truck and          tbr-
Snowman:     [OV]Yeah. why do we need nvo?

LT:          -the
                      big one [UI].

Snowman:     Yes. but just in case . .    .




LT:          ls the trailer theirs?

Snowman:     No. no. no. Box-truck.

LT:          Wcll a hox-truck. Just one hox-truckand that's all'l

Snowman:     [OV] And. and one        Sprinter.             ,



LT:          One Sprinter. okal'.

Snowman:     Yes.

LT:          So in other words. he      will   be working both.

Snowman:     Yes,     uh-
LT:          ok

Snowman:     Uh. and. that's what I'm thinking. And if. for example. the box-truc,k left and
             there is u'ork left to be done, I can always hop into Sprinter and go for TA, for
             TTA.

L'r          I see.

Snowman      For the company. well. I am going ro put everything in there and then we         will   be
             coming and will figure it out [UI] pay when I [UI]

LT:          IUI].

Snowman      For example. today. I lost a week already.
                                                         [chuckles]       [ul] going. But that.s all
             right. no worries. Maybe it's for the best.

I-T:         well. all righr. we will     set up   TTA and will start working with chicago for now.


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                                   I.JNCLASSIFIEI)
File Name: Snowman TevfO2l 6201 8.003


Snowman      Yes. Chicago. I already started talking to him. I am telling him. "Marius [PHl.
             come pick something up over here. bro." Ile says. "l behind."

L'T          Uh-huh. He loads up here?

Snouman:    Uh-huh. No. All the medical stuft'. From Costco. It's Virginia, Wesl Virginia
            North Carolina. South Carolina and [UI] there.

LT:          Yes.

Snowman:     He says.   "l'm bchind." I sa1'. "Wh)'don't        you give it to me'.) Slowlr'."

LT:          LIh-huh.

Snou'man:   He says.    "l   need to think about    it." Well, Marius is the kind of guy. he will take
            his time thinking about        it.   Yeah. Then I approached him . . . Are those trucks of
            yours running? Those. in Urah.

LT:         Which ones?

Snowman:     You were telling me vou have five or six trucks for which you were given a share.

LT:          I have more than five trucks in Lltah. I bave fucking one hundred plus.

Snowman:    No. no. those which . . . when you and I sarv each other last time. you told me.
            "The company has dissolved and we have like trucks . . ." You have like five or
            six trucks sifting arormd . . .

LT:         Ah. lLrrl?

Snowman:    I don't knowifit's         ILII]...
LT:         Well norv. if.     if   necessary. I could pull them oul of lhere.

Snowman:    Do they run?

LT:         Yes. they still run.

Snowman:    Ok. then let them run. I thought it all fell apart. no one is thcre . .      .



LT:         [OV] No. I can tahe them.

Snowman:    No. listen. I thoughr you have them sitting there. I thought that thev could
                                                                                         be
            slowly sold to Mark [PH] lhose tlve trucks. Because he seems to be looking.



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File Name: Snowman_TeyCI2         I   6201 8.003

LT:          [OV]To sellthem?
Snowman     So. like he could start making payments. He rents his trucks anyway. So he
            could renl them here and would start rolling that way. Need to start somewhere
            He is a very nice guy. I don't want            to-
LT:         No. don't worry about it. Sasha.

Snowman:                  to be honest-
            -and
LT:         Well      .




Snowman: I tell him. "Marius.            vou understand that it's a little, I wanl to earn just a little
            n'lore.

LT          [OV] Well. this is until he says ttat he is picking up this cargo from Costco. we
            [UI].

Snowman     No. no. no. no. no. no. I am trying to convince him . . . I will put this one here
            and will start helping him with cargoes oner there. With those two vehicles. [{e
            will see that I am able to handle it. Marius is like that. He will . . .

LT          Well. okay

Snowman:    Then I will tell hinl "Give me the ones from Costco. I will transport them here."
            For now I need a bm-tuck for this one, a small              pl].
                                                                  I have it.

L-T:        ok
Snowman:    I don't need a bunch.

LT:         ok

Snowman:    And if we can get our foot in the door. and I think we will. later we could run
            bigger trrcks. Like the ones we have. We would buy medical trailers and all that
            stuff.

L1-         [UI] put wherc. in Chicago?

Snowman:    AITTA. Why?               Here.

LT:         I know it'satTTA. Here? Here?

Snowman:    Here. Yes. Of course. We have them in Winston, Salem and Carv

LT:         In Cary?


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File Name: Snowman_Teyf02 I 620 I 8.003


Snowman:     Cary. Simmons.

LT:          Winston-Salem. [UI]. Simmons?

Snowman:     Simmons. yes.

LT:          [UI].

Snowman:     Of course. The company does it here.

LT:          [UI] but now [-JI]?

Snorman:     The company does [it]. but look whar happens. Marius started working on one
             truck. Started doing some good work.

t-T:         Here?

Snowman:     No. in Chicago. [He] was never late. He has been working lbr 12 years already

Lf:          You mean before [UIJ?

Snowman:     Yes. yes. yes, yes.

LT:          [UIl not necessary    pl].
Snowman:     Yes. rr''e. we will simpll break up the people. Because I know all the work. our
             drivcrs know how to do work.

LT:          Are you sune you would be able break up the other people?

Snowman:     Little-by-linle we will.

LT:          Andthat companythal's there now [UI].

Snowman:     But we had three companies running to Chicago, and now there is one left in the
             past two yemt.

t-T:         Working on Simmons.

Snowman:     Yes. On Hegel [PH].

LT:          tu[.
Snowman      Yes. We get rid of them. For being      late-


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                                         LI-NCLASSIFIED
    File Name: Snowman_Teyf02 I 620 I 8.003
    LT:          [UI].

    Snowman:     Well. yes. squeeze them out. Marius squeezed them out. Because of being
                 late...
    LT:          Good work

    Snowman      Drivers don't. don't help   [ul] work. You rell them to move to a different parking
                 spot. they don't. The same shit is happening here. I already drove here three
                 times in the hox-truct. I already drove here. we have another system. too. Even
                 if some kind of commotion starts. we also have cargoes going to New York.

    LT:          To be honest with you. I thougtt you wete tr:ring to replace the boss at the
                 warehouse.

    Snowman      That's what I was pushing to do.

    I-T:         Would 1,ou be able to get in?

    Snowman:     Well, you know me.

    LT:          Ichuckles]

Snowman         I will push through. wcll. ifthey gave me the key. at Hegel [PII] and from Hegel
                [PH] &om here the office was given. Hegel [PHJ is nor Mark's, but Hegel [pH]
                gave me a small corner with internet.

                I understand. Mark's customer-customer. ri glrt?

Snowman:        Yes. but it was already allotted. The other warehouse where I have my trailers. I
                mean Mark's bailers. I have the keys to that warehouse. I use their bathroom. No
                one has a key, but me. Two bosses. two bosses, the main bosses-

LT              ok?

Snowman:
                -Germans.
I   _.r         I know. . .

Snoraman:                saw me and say,   "He], Alex, how are you? where have you been?" I told
                -they
                them. "On     vacation." [Chuckles] Can I not take a vacation?

LT:             [UI]   has it?

Snowman         Simmons has it. of course. But you need to . .   .   One second.



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                                    TJNCLASSIFIED
File Name: Snowman_Teytr2 I 6201 8.003
LT:         How-how are you going to get into Simmons?

Snowman     Here is   how, You a little are not. You are not . . . [,et me explain all of it to you.
            Simmons is a huge corporation. other corporations, like Hegel, are working for it.
            'l-hey
                are Germans, as well. They. Simmons. produce. Hegel installs these. In
            othcrwords....We-
LT:         Transport.

Snowman:         Hegel. transport Simmons equipment to Hegel. We           pick it up from
            -for
            Simmons and take it to llegel to install it.

LT:         [OV] Well okat'.u'ell    okuv.

Snowman     The same thing happens here. I{ere they have. uh . . .Those . .     .




LT          Branches'l

Snowman     Installers. but different ones.

LT          IOV] Branches. branches that are neither Simmons. nor Hegel.

Snowman     No.

LT          Some other subcontactors.

Snowman:    Subcontractors. yes. I already know u'ho is here.

LT:         Oh. okay.

Snou'man:   They tran[sport] . . . delivered to them. For example. I take it to them.

LT:         ok.

Snowman:    Then you come and give a different type of sen'ice. They are tired of the other
            ones.

LT:         They are late and so on

Snowman:    They are late. the truck. . . what do we have here. for example? tjh. how it all
            works. I arrive at the hospital. There is a PM from Simmons.

LT:         Uh-huh.

Snowman:    He is the boss from Simmons who supervises all this crap. And he tells you
            where to park. how to park. where to tum. how to op.n the door.
                                                                                    He gives you


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             the orders. We and Hegel unload everything, unpack it, bring it into the hospital
             Sometimes we use cranes. if it's the fourth floor.

t_T          Uh-huh.

Snouman      Then we collect all the trash, all the stuff. I have to take it away.

I,T          [OV] This is all done, this is all done by Mark's company. right?

Snowman      Mark's company. I'es. They sign every page for me regarding what and how it
             was done. And the-v write. uh. call . . .The syste,m is such: you keep working.
             working. working - they pay well. But. darn, if you are late one time. they charge
             you double. For example. you are bringing a 4,000 [dollar cargo]. even that same
             hox-truck is transporting. darn IchucklesJ something happens. IUI] and shocked.

LT:          Well. it's clear.

Snowman: This is. this is such      ...   [UI].

             [Noise]

LT:          Ok, makes sense.      pI].
Snowman:     We just had thrce companies: Mark's and two other ones squeezed                  in. Well.   we
             squeezed them out because of good service.

LT:          Ok. so you just think that the compan)-   [t'l       l.

Snowman:     [O\Il Will   get in here. Marius will come hcre. He r.r'ill see that we are [doing
             everythingl   we ll. and hc uill come here himscll.


LT:          Well. if he comes here. wouldn't he just take up all the cargo and work for
             himselP

Snowman:     Who?

LT           Marius.

Snowman:     [chuckles] No. no, no. Will need to put here              . He   will not split between. Leonid
             Isaakovich, he will not split.

[-T:         You mean he would have to hire someone           .        tul.
Snowman:     [OV] Me. of course. Because I am local.

LT           [UI] your vehicles.

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Snowman     Ycs. He doesn't care where to get Iit]. Is this for you'/

LT          No [UIl.

Snowman:    Uh-huh.

LT:         lLrrl.

            [Noise]

LT          [UIl two of us or [UI]?

Snowman:    At TfA? Together. Ibr nou'. it's just, I, I. . . . tbr the time being only that guy.
            Giovanni.

[,T:        ll'ho, u'ho is Gioyanni'?

Snowman     flaughs] John. Dr. Aybolit. I say to hin:, "[Iow are you. Aybolit?' I
            misunderstood the situation a little. I came to see him. and he tells me. "[.eo told
            me. we are not going to do anything like that. I have IiVtheml." 0/ra1,.

[--f   :    But. I didn't tell him that. It's just there was a company. but it was [UIl.

Snowman     Ok. 'Ihen I tellhim,     "[-ct's-
LT          [OV] It was with . . . This Lesha.     a soldier. is here.


Snowman:    He would have already transferred it to his name.

LT          I know.

Snowman:    I_
t-T         [OVf We opened that company to potentially move the lrucks to liorth (arolina.

Snouman:    Ok. fine. But aDOT number is needed. I rold him righr away. "Go get a DOT
            number." But  1o get ir oul of John. Did you talk to him? "No."


L'[:        I will   see   him tomorrow at 9:30

Snowman:    [chucklesl I say. "You are locared in ch-chicago. Boss is in North Carolina.
            And you are telling me that you didn't talk to him?" I was saying this to myself.
            Because I know you. For you not to call and not make arrangements
            is not possible.
                                                                                  - sucir thing


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L'I:         I mostly talk to Lesha. That's why not John.

Snowman      I need for him to add me. so we could open. um, an account. You would transfer
             themoney.thenwouldw'ritein...lwouldaddyouthereintoallofthis.this...l
             hope you trust the money to       me. lt won't go anywhere.

LT:          Naturally

Snowman:     I think [UI] could [UI] to my company, and we can later sign a note and transfer
             it.

LT           Wh1"? I     u'ill give a loun to TTA.

Snowman      t-lh-huh.

LT:          Using thal loan you     will buy a box-truck   and a Sprinter,   shit. And let's get going.

Snowman      Let's do this. We u'ill rcgister the box-rruck andget it going. Then the Sprinter.
             And then I will tell you how much is werything. Slowly. I. I want, I want to gct
             it. so I could pay you back lbr evcrything within a )'ear. so he would start
             working. You see'l I don't wrmt an) big amounts . . . What did it come up to?

I.'T:        I don't know. [UI].

Snowman:     Oh. you're jusl . . .

LT:          Ok. so tomorrow I will tell John to prepare the agreement for a loan. Ilow much
             money would you ned for all of that?

Snowman:     He and I calculated     it to be 25.

LT:          25

Snowman:     No, the box truc\insurance for a year . . . He said that he reported it to you. Uh.
             that one. . . Becase the insurance for a year c:lme up to. if we were to pay every
             month.      ..
LT:          Sasha. I had other things ro worry about.

Snowman      Yes. And for the entire year it would be a thousand plus less.

Lt'          I flew out on November       5 and   just came back on February 9. tull was in Europe
             rurl.
Snowman     Is number 412 yours or was it lefl here?




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LT:           4-l-3-5-2-2-l-l-4-1.

Snowman:      IOVI I was writing to vou on that number and then got a text back. but you never
              write to me like that. [Laughs]

LT:           No. maybe it's not mine. What. what's the number?

Snowman:      I don't remember. It was your number          IUIl [noise]
LT:           Itll]the old one.-t'he old     phone.-l'he old phone, [UI] four-one at the end.

Snowman:      Ilow's IUI]. working?

LT:           Yes. still IUI].

Snowman:      Well. thank God.

LT:           So. okal'. I am going make a loun . .     .


Snowman:      tJh-huh. IRustling noise]

LT:           ItJl] Put together   a   loan. [UI] twenq' grand. [UI] [Noise]

Snowman:      Yes. But...   [U[.
LT:           ILII] what you tell me [Ull.

Snowman:     For the Sprinter, yes.

LT:           lrJrl.

Snowman:     Ok. by then you should be back. Leonid Isaakovich. you and I r.r'ill sit down and I
             will laf it all out for 1.ou.

LT:          [tJI] Sprinter. . .

Snowman:     I don't know uihat to do about the Sprinter. either get a used one or get a new one
             on pa)'ments. There is a bunch . . . I'll think about it some more. All of this . . .

LT:          IUI] service seclor.

Snowman:     New one?

LT:          Neu,one will probably be [UI].

Snowman:     No. 35 thousand.


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LT:          IUI]

Snowman:     Yes. But need to. since the company just barely opened. it willprobably be
             necessary to put ten as a down payment. even with my [.JI]. Yes. To get a new
             one.

LT:          IUII.

Snowman:     So

LT:          My.my       [tJIl-
Snouman:     [()VJ Oh. the phone.

LT:          ----check   it in the. uh. what's it cdled? Amazon.

Snowman:     Uh-huh.

LT:          Cot thirty Sprinters. they are also 35 thousand each. put 6 thousand dou'n payment
             on each. . .

Snowman      LIh-huh.

LT:            . . And mn deliveries between, between . . . Well. fiom the warehouses..

Snowman:    I don't get it, you arc looking at me like. [UI]. What's going on here? [Chuckles]
            Hegel [PH] just moved into a new building. The road is here. and Amazon is over


      #
            here.

LT:         Uh-huh.

Snowman:    I didn't introduce myself properly yet.

LT:         It would have beennice to get into Amazon.

Snowman:    That's wherre I atr trying to get into. Slowly

LT:         Okay. then.

Snowman:    Leonid Isaakovich, you see . . .

LT:         There is a great potential there.

Snowman:    Yes.




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L't:        Right now they are using larger [companies] like Conveyor. Swift. and shit like
            that. But those are twisting their arms and they want to switch to a system similar
            to FedEx's. with fifteen vehicles per company.and contractors, contractors. and
            contractors.

Snowman     Hegel IPH] itself. besides doing installations. they also have three warehouses and
            takes cargo for storage and delivery.

LT:         Llh-huh.

Snowman:    In the past the boss of all those warehouses...

LT:         Besides, besides, besides Simmons?

Snowman:    Yes. An idiot was working. figuratively speaking. Such a . . . He would take
            bribes from you. but he was an     idiot. h was hard to deal with him. Right now
            there is a different person there. He just started a week andahalf ago. Because
            they told me. you are . . . I just won't be able to make it there. AII that computer
            bullshit in English. I wouldn't be able to pull it off. So . . . And right now I am on
            very good terms with this Michael. They pay really well. I think that my box
            Iracl< won't be sitting on the lor It will run hck and forth, 200-250 miles.

LT          Either on Hegel's [PH]. or for them.

Snowman:    Yes. yes, yes. it will be running constantly. I think that it   w,ill. She. he tells   rne
            ask. "How much do you pay?"

L-I:        Do 1'ou have a driver?

Snowman:    I alreadv have a driver. Alreadv do.

LT:         Is he a good one, is he okay?

Snou,man:   Yes, 1'es.

Ll':        A hard-working dude. leahl)

Snouman:    Yes. And what I want to do right now. I no longer want to deal with people that              I
            know. No relatives! no one.

l-T:        Well.yeah...

Snouman:
            ltrangers- And as you-taught me once. you need to be tough and stay lar away
            from allthat. I remembered that lesson. and that's how I;ant to continue.
                                                                                        Do
            your work, get paid. and 'goodbye.' watch over the truck and that's
                                                                                it. I need . . .
            I constantly [UI] warch myself.


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 t.'r:        Well. all right. we are going to get started then. Sasha.

 Snowman:     Then I remain for one more day and wait lbr John . . . tomorrow.

 LT:          Well. tomorrow. tomorrow you can drive over at 9:30. We can meet him at
              Starbucks. I will be giving him my BMW. some guy bought a BMW from me.
              finally.

 Snowman:     Uh-huh. Which BMW'I
                                                                    f
Lt-:          1-hat   BMW [UI].

Snowman       Ah.     Dasha's?

L'I':         What "Dasha's?" Dasha's is a Cadillac.

Snowman:      Wait. you gave a Jeep to your daughter. . .

L'I-:        To my daughter. . .What?

Snowman:      You gave her the Jeep initialll'.

LT:           well. [U[.

Snowman      Ah. so it is here?

LT:          Yes. Tanya's car is over there, I{ere is mine. Grisha's is over there.

Snowman:     Uh-huh.

             INoise]

[-T:         [I[f     I want to get a new l.exus here. Alread;- paid     the dov.n, dou.n poy,menl . .   .



Snowman:     Uh-huh.

LT
             -rvill be here at the end ot'March.         [UI]
Snowman:     So-
I,'I':        So tomorrow at 9:30, here. we       will   discuss it all together. near starbucks.

Snowman      ok. Mo$ importantly       . . . A question. I am with      you. I don't want any Johns or
             anvone else.




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LT:         No. no. What does John have to              do-?
Snouman     [OV] He is a nice guy. I told him. "John. good job for not saying anything ro
            anyone."

LT:         What does, what does John have to do with anything?

Snor,man    Yes. because I don't want to . . . I'll get into something . . . and I don't want
            to . . . Iater to give away fiom the Intemet channels.

L'l':       Sasha. don't. don'1. don't.           don't blow it out of proportion. please.

Snowman:    I am not trying       to!   Okay. boss. tomorrow at 9:30 [rustling noise]          [tll].
Ll':        Iw'illtalk to him tomorrow [[il].

Snowman:    Uh-huh.

LT:         [UI].

Snowman:    Then I      will   go. come back. and then      will work on it.

Ll':        I am flying back in on the 25th.

Snowman:    Okay, then I . .      .   And fbr how long? How long will you stay here?

LT:         I   will   stay for a long time. [UI l.

Snowman:                will                                                                  -Ihe
            Then I             come on. \'ou know when, uh. probably on the          fitih.          little one   has
            a   birthday on the       '19e.


LT:         Of March. March.           ri_eht.


Snowman: 0f March. yes. yes.
LT:         Okay. call me then.

Snowman:    'l'hen I   will... when you arrive. I willcail        ;-ou right awav.

LT:         On February 25 [{..]ll.

Snowman:    Done. See you tomorrow then at 9:30. right? okay. hoss.

[-'I:       See 1,ou tomorrow.


IEND OF CONVERSATTONI


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